                      Case 3:17-cr-00220-JAM Document 175 Filed 03/29/18 Page 1 of 2
                                                                                                          Crim-Mot hrg (Dec-2008)
                                                    HONORABLE: Jeffrey Alker Meyer
                           DEPUTY CLERK Y. Gutierrez              RPTR/ECRO/TAPEDiana Huntington
TOTAL TIME: 3               hours 30  minutes  USPO                     INTERPRETER
                              DATE: 3/29/2018     START TIME: 10:06            END TIME: 1:36
                                                LUNCH RECESS FROM:                   TO:
                                       RECESS (if more than ½ hr)   FROM:            TO:

CRIMINAL NO. 3:17-cr-00220-JAM                  Deft #1



                    UNITED STATES OF AMERICA                    Avi Perry, Robert Zink
                                                                                      AUSA
                                vs
                                                                Marc L. Mukasey, Nathan James Muyskens
                            Andre Flotron                       Defendant’s Counsel           CJA         Retained        PDA
                                                                  Daniel E. Clarkson, Daniel P. Filor ,


                                       HEARING ON CRIMINAL MOTIONS

  ......# 97        Deft Flotron             Motion In Limine                       granted denied advisement
  ......# 107       Deft Flotron             Motion In Limine                       granted denied advisement
  ......# 108       Deft Flotron             Motion In Limine                       granted denied advisement
  ......# 110       Deft Flotron             Motion In Limine                       granted denied advisement
  ......# 112       Deft Flotron             Motion In Limine                       granted denied advisement
  ......# 114       Deft Flotron             Motion In Limine                       granted denied advisement
  ......# 140       Deft Flotron             Motion In Limine                       granted denied advisement
  ......# 169       Deft Flotron             Motion In Limine                       granted denied advisement
  ......#           Deft                     Motion                                 granted denied advisement
  ......#           Govt’s motion                                                   granted denied advisement
  ......#           Govt’s motion                                                   granted denied advisement
  ......#           Govt’s motion                                                   granted denied advisement
   ......#          Govt’s motion                                                   granted    denied advisement
  .......#          Deft               oral motion                                  granted denied advisement
  .......#          Deft               oral motion                                  granted denied advisement
  ......#           Deft               oral motion                                  granted denied advisement
  ......#           Govt’s oral motion                                              granted    denied advisement
  ......#           Govt’s oral motion                                              granted denied advisement
  ...............   Brief(s) due                Response(s) due                  Replies due
  ...............   Bond      set at $               reduced to $                  Non-surety Surety PR
  ...............   Bond      revoked    reinstated    continued modified
  ...............   Defendant REMANDED to custody
  ...............   Competency Hearing held          continued until              at
  ...............                                  hearing continued until               at
  ...............   Court finds defendant                             competent    incompetent
  ...............   Court orders defendant                         to undergo psychiatric evaluation
  ...............   Motion Hearing continued until                             at
  ...............   SEE PAGE II for additional entries
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                             DOCUMENTS FILED IN OPEN COURT

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                                            NOTES OR

                               MISCELLANEOUS PROCEEDINGS
